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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.I6-IOOO7-CR-M ARTINEZIS)
 UNITED STATES OF AM ERICA

        Plaintiff,
 VS.

 NEHEM IAS SAM AYOA COM DO,

        Defendant.
                               /

       O R D ER A DO PTING M A G ISTM TE 'S REPO R T AN D REC O M M EN DA T IO N

       TH IS CA U SE cam e beforethe Courtupon the OrderofReference from the

 D istrictCourtto conducta Change ofPleabefore a M agistrate Judge.

       TH E M ATTER wasreferred to M agistrate Judge Lurana S.Snow ,on A ugustl1,

 2016.A Reportand Recommendation wasfiled on September26,2016,(ECF No.87),
 recom m ending thattheD efendant'splea ofguilty be accepted.The parties were afforded

 theopportunitytotileobjectionstotheReportandRecommendation,howevernonewere
 filed.TheCourthasreviewedtheentiretileandrecordandnotesthatnoobjectionshave
 been Gled. A ftercarefulconsideration,the Courtaftsrms and adoptsthe Reportand

 Recom m endation. A ccordingly,itishereby:

       ORDERED AND ADJUDGED thatthe Reportand Recommendation (ECF No.

 87)ofUnited StatesM agistrateJudgeLuranaS.Snow,isherebyAFFIRM ED and
 AD O PTED in itsentirety.

       TheDefendantisadjudgedguiltyto Count1oftheSupersedinglndictm ent,which
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  chargeshim w ith conspiracy to transfera false identitication docum ent,in violation of 18

  U.S.C.j1028(9.
          D ON E A ND O RD ER ED in Cham bersatM iam i,Florida,this         day ofO ctober,

  2016.
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                                                   JO SE .M A RTINEZ
                                                   1-1N 1 D STA TES D ISTRICT JUD GE



  Copied:Hon.M agistrate Snow
  Al1CounselO fRecord
  U .S.Probation Oftâce
